 

 

 

Case 1:18-cr-00593-RDB Document 26 Filed 04/16/19 Page 1 of 9

U.S. Department of Justice

 

 

 

Ula bist |
Ripe bee be United States Attorney
4a: {ky District of Maryland

omg APRS ANY
Burden iH, Walker Suite 400 DIRECT: 419-209-4849
Assistant United States Attorney 36%. Charles Sureet MAIN: 416-209-4800
Burden, Watker(@usdoj. gov Rattimore, MD 31201-3119 FAX: £40-962-2310

January 23, 2019

Ryan Burke
812 N. Calvert Street, Suite |
Baltimore, MD 21202

Re: United States y. William McRae,
Criminal No. RDB- (D. Md.)

Dear Counsel:

This letter, together with the Sealed Supplement, confirms the plea agreement (this
“Agreement”) that has been offered to your client, William McRae, (hereinafter “Defendant”), by
the United States Attorney’s Office for the District of Maryland (“this Office’). If the Defendant
accepts this offer, please have the Defendant execute it in the spaces provided below, If this offer

has not been accepted by February 3, 2019, it will be deemed withdrawn. The terms of the
Agreement are as follows:

Offense(s) of Conviction

1, The Defendant agrees to plead guilty to Count One of the Information, which charges the
Defendant with conspiracy to distribute and possess with intent to distribute 100 kilograms or more
of a mixture or substance containing marijuana, a Schedule | controlled substance, in violation of
21 U.S.C. § 846. The Defendant admits that the Defendani is, in fact, guilty of the offense and
will so advise the Court.

Elements of the Offense

2. The elements of the offense to which the Defendant has agreed to plead guilty, and which

this Office would prove if the case went to trial, are as follows: That on or about the time alleged
in the Information, in the District of Maryland:

a. Two or more persons agreed to distribute and possess with the intent to distribute a
mixture or substance containing marijuana, a Schedule I controlled substance:

b. the Defendant was a party to, or a member of. that Agreement;

c. That the Defendant joined the agreement or conspiracy knowing of its objective to
distribute and possess with the intent to distribute a controlled substance and
intending to join together with at least one other alleged conspirator to achieve those
objectives; and

 
 

Case 1:18-cr-00593-RDB Document 26 Filed 04/16/19 Page 2 of 9

d. That it was reasonably foreseeable to the Defendant that 100 kilograms or more of
a mixture or substance containing marijuana was involved in the conspiracy.

Penalties

3. The maximum penalties provided by statute for the offense(s) to which the Defendant is
pleading guilty are as follows:

 

 

 

 

 

 

 

 

 

 

 

COUNT STATUTE MAND. MAX SUPERVISED | MAX FINE | SPECIAL
MIN. | IMPRISON- RELEASE ASSESS-
IMPRIS MENT MENT
ON-
MENT
I 21 U.S.C. § 846 5 years 40 4-5 years $5,000,000 $100
a. Prison: If the Court orders a term of imprisonment, the Bureau of Prisons has sole

discretion to designate the institution at which it will be served.

b. Supervised Release: If the Court orders a term of supervised release, and the
Defendant violates the conditions of supervised release, the Court may order the Defendant
returned to custody to serve a term of imprisonment up to the entire original term of supervised
release if permitted by statute, followed by an additional term of supervised release.

c. Restitution: The Court may order the Defendant to pay restitution pursuant to 18
U.S.C. §§ 3663, 3663A, and 3664.

d. Payment: Ifa fine or restitution is imposed, it shall be payable immediately, unless
the Court orders otherwise under 18 U.S.C. § 3572(d). The Defendant may be required to pay
interest if the fine is not paid when due.

e, Forfeiture: The Court may enter an order of forfeiture of assets directly traceable
to the offense, substitute assets, and/or a money judgment equal to the value of the property subject
to forfeiture.

f, Collection of Debts: If the Court imposes a fine or restitution, this Office’s
Financial Litigation Unit will be responsible for collecting the debt. If the Court establishes a
schedule of payments, the Defendant agrees that: (1) the full amount of the fine or restitution is
nonetheless due and owing immediately; (2) the schedule of payments is merely a minimum
schedule of payments and not the only method, nor a limitation on the methods, available to the
United States to enforce the judgment; and (3) the United States may fully employ all powers to
collect on the total amount of the debt as provided by law. Until the debt is paid, the Defendant
agrees to disclose all assets in which the Defendant has any interest or over which the Defendant
exercises direct or indirect control. Until the money judgment is satisfied, the Defendant
authorizes this Office to obtain a credit report in order to evaluate the Defendant’s ability to pay,
and to request and review the Defendant’s federal and state income tax returns. The Defendant
agrees to complete and sign a copy of IRS Form 8821 (relating to the voluntary disclosure of
federal tax return information) and a financial statement in a form provided by this Office.

2

 
Case 1:18-cr-00593-RDB Document 26 Filed 04/16/19 Page 3 of 9

Waiver of Rights

4, The Defendant understands that by entering into this Agreement, the Defendant surrenders
certain rights as outlined below:

a. If the Defendant had pled not guilty and persisted in that plea, the Defendant
would have had the right to a speedy jury trial with the close assistance of competent counsel.
That trial could be conducted by a judge, without a jury, if the Defendant, this Office, and the
Court all agreed.

b. If the Defendant elected a jury trial, the jury would be composed of twelve
individuals selected from the community. Counsel and the Defendant would have the opportunity
to challenge prospective jurors who demonstrated bias or who were otherwise unqualified, and
would have the opportunity to strike a certain number of jurors peremptorily. All twelve jurors
would have to agree unanimously before the Defendant could be found guilty of any count. The
Jury would be instructed that the Defendant was presumed to be innocent, and that presumption
could be overcome only by proof beyond a reasonable doubt.

c. If the Defendant went to trial, the government would have the burden of proving
the Defendant guilty beyond a reasonable doubt. The Defendant would have the right to confront
and cross-examine the government’s witnesses. The Defendant would not have to present any
defense witnesses or evidence whatsoever. If the Defendant wanted to call witnesses in defense,
however, the Defendant would have the subpoena power of the Court to compel the witnesses to
attend.

d, The Defendant would have the right to testify in the Defendant’s own defense if
the Defendant so chose, and the Defendant would have the right to refuse to testify. If the
Defendant chose not to testify, the Court could instruct the jury that they could not draw any
adverse inference from the Defendant’s decision not to testify.

€. If the Defendant were found guilty after a trial, the Defendant would have the right
to appeal the verdict and the Court’s pretrial and trial decisions on the admissibility of evidence to
see if any errors were committed which would require a new trial or dismissal of the charges. By
pleading guilty, the Defendant knowingly gives up the right to appeal the verdict and the Court’s
decisions.

f. By pleading guilty, the Defendant will be giving up all of these rights, except the
right, under the limited circumstances set forth in the “Waiver of Appeal” paragraph below, to
appeal the sentence. By pleading guilty, the Defendant understands that the Defendant may have
to answer the Court’s questions both about the rights being given up and about the facts of the
case. Any statements that the Defendant makes during such a hearing would not be admissible
against the Defendant during a trial except in a criminal proceeding for perjury or false statement.

g. If the Court accepts the Defendant’s plea of guilty, the Defendant will be giving up
 

Case 1:18-cr-00593-RDB Document 26 Filed 04/16/19 Page 4 of 9

* the right to file and have the Court rule on pretrial motions, and there will be no further trial or
proceeding of any kind in the above-referenced criminal case, and the Court will find the
Defendant guilty.

h. By pleading guilty, the Defendant will also be giving up certain valuable civil
rights and may be subject to deportation or other loss of immigration status, including possible
denaturalization. The Defendant recognizes that if the Defendant is not a citizen of the United
States, or is a naturalized citizen, pleading guilty may have consequences with respect to the
Defendant’s immigration status. Under federal law, conviction for a broad range of crimes can
lead to adverse immigration consequences, including automatic removal from the United States.
Removal and other immigration consequences are the subject of a separate proceeding, however,
and the Defendant understands that no one, including the Defendant’s attorney or the Court, can
predict with certainty the effect of a conviction on immigration status. The Defendant is not
relying on any promise or belief about the immigration consequences of pleading guilty. The
Defendant nevertheless affirms that the Defendant wants to plead guilty regardless of any potential
immigration consequences.

Advisory Sentencing Guidelines Apply

5. The Defendant understands that the Court will determine a sentencing guidelines range for
this case (henceforth the “advisory guidelines range”) pursuant to the Sentencing Reform Act of
1984 at 18 U.S.C. § 3551-3742 (excepting 18 U.S.C. § 3553(b)(1) and 3742(e)) and 28 U.S.C.
§§ 991 through 998. The Defendant further understands that the Court will impose a sentence
pursuant to the Sentencing Reform Act, as excised, and must take into account the advisory
guidelines range in establishing a reasonable sentence.

Factual and Advisory Guidelines Stipulation

6. a. This Office and the Defendant stipulate and agree to the Statement of Facts set forth
in Attachment A, which is incorporated by reference herein. This Office and the Defendant further
agree that the applicable base offense level is a level 24 pursuant to United States Sentencing
Guidelines (“U.S.S.G.”) § 2D.1.1(c)(8) to account for the fact that it would have been reasonably
foreseeable to the Defendant that between 100 and 400 kilograms of marijuana was involved in
the conspiracy.

b. Because the Defendant used his position as a postal worker to significantly facilitate
the commission of the offense, his offense level must be increased by 2 levels, pursuant to USSG
§ 3B1.3. With this enhancement, his offense level would be 26.

c. The parties agree that if the Defendant meets criteria under USSG § 5C1.2 (“safety
valve”), then his offense should decreased by an additional two levels pursuant to USSG §
2D1.1(b)(17). If the Defendant obtains this 2-level reduction, the adjusted offense level would

be 24.

d, This Office does not oppose a two-level reduction in the Defendant’s adjusted -
offense level pursuant to U.S.S.G. § 3E1.1(a), based upon the Defendant’s apparent prompt
recognition and affirmative acceptance of personal responsibility for the Defendant’s criminal

4
 

Case 1:18-cr-00593-RDB Document 26 Filed 04/16/19 Page 5 of 9

' conduct. This Office agrees to make a motion pursuant to U.S.S.G. § 3E1.1(b) for an additional
one-level decrease in recognition of the Defendant’s acceptance of personal responsibility for the
Defendant’s conduct. This Office may oppose any adjustment for acceptance of responsibility
under U.S.8.G. § 3E1.1(a) and may decline to make a motion pursuant to U.S.S.G. § 3E1.1(b), if
the Defendant: (i) fails to admit each and every item in the factual stipulation; (ii) denies
involvement in the offense; (iii) gives conflicting statements about the Defendant’s involvement
in the offense; (iv) is untruthful with the Court, this Office, or the United States Probation Office;
{v) obstructs or attempts to obstruct justice prior to sentencing; (vi) engages in any criminal
conduct between the date of this Agreement and the date of sentencing; (vii) attempts to withdraw
the plea of guilty; or (viii) violates this Agreement in any way. If the Defendant obtains this 3-
level reduction, his final, adjusted offense level would be 21.

7. There is no agreement as to the Defendant’s criminal history and the Defendant
understands that the Defendant’s criminal history could alter the Defendant’s offense level.
Specifically, the Defendant understands that the Defendant’s criminal history could alter the final
offense level if the Defendant is determined to be a career offender or if the instant offense was a
part of a pattern of criminal conduct from which the Defendant derived a substantial portion of the
Defendant’s income.

8. Other than as set forth above, no other offense characteristics, sentencing guidelines
factors, potential departures or adjustments set forth in the United States Sentencing Guidelines
are in dispute or will be raised in calculating the advisory guidelines range.

Obligations of the Parties

9, At the time of sentencing, this Office and the Defendant reserve the right to advocate for a
reasonable sentence, period of supervised release, and/or fine considering any appropriate factors
under 18 U.S.C. § 3553(a). This Office reserves the right to bring to the Court’s attention all
information with respect to the Defendant’s background, character, and conduct that this Office
deems relevant to sentencing, including the conduct that is the subject of any counts of the
Indictment. At the time of sentencing, this Office will move to dismiss any open counts against
the Defendant and to dismiss the Indictment pending against him. .

Waiver of Appeal

10. ‘In exchange for the concessions made by this Office and the Defendant in this Agreement,
this Office and the Defendant waive their rights to appeal as follows:

a. The Defendant knowingly waives all right, pursuant to 28 U.S.C. § 1291 or any
other statute or constitutional provision, to appeal the Defendant’s conviction on any ground
whatsoever. This includes a waiver of all right to appeal the Defendant’s conviction on the ground
that the statute(s) to which the Defendant is pleading guilty is unconstitutional, or on the ground
that the admitted conduct does not fall within the scope of the statute(s).

b. The Defendant and this Office knowingly and expressly waive all rights conferred
by 18 U.S.C. § 3742 to appeal whatever sentence is imposed (including any term of imprisonment,
fine, term of supervised release, or order of restitution) for any reason (including the establishment
of the advisory sentencing guidelines range, the determination of the Defendant’s criminal history,

5
 

Case 1:18-cr-00593-RDB Document 26 Filed 04/16/19 Page 6 of 9

- the weighing of the sentencing factors, and any constitutional challenges to the calculation and
imposition of any term of imprisonment, fine, order of forfeiture, order of restitution, and term or
condition of supervised release), except as follows:

(i) The Defendant reserves the right to appeal any sentence that exceeds the
Statutory maximum; and

(ii) | This Office reserves the right to appeal any sentence below a statutory
minimum; and

c, The Defendant waives any and all rights under the Freedom of Information Act
relating to the investigation and prosecution of the above-captioned matter and agrees not to file
any request for documents from this Office or any investigating agency.

Defendant’s Conduct Prior to Sentencing and Breach

li. oa, Between now and the date of the sentencing, the Defendant will not engage in
conduct that constitutes obstruction of justice under U.S.S.G. § 3C1.1; will not violate any federal,
State, or local law; will acknowledge guilt to the probation officer and the Court; will be truthful
in any statement to the Court, this Office, law enforcement agents, and probation officers; will
cooperate in the preparation of the presentence report; and will not move to withdraw from the
plea of guilty or from this Agreement.

b, If the Defendant engages in conduct prior to sentencing that violates the above
paragraph of this Agreement, and the Court finds a violation by a preponderance of the evidence,
then: (i) this Office will be free from its obligations under this Agreement; (ii) this Office may
make sentencing arguments and recommendations different from those set out in this Agreement,
even if the Agreement was reached pursuant to Rule 11(c)(1)(C); and (iii) in any criminal or civil
proceeding, this Office will be free to use against the Defendant all statements made by the
Defendant and any of the information or materials provided by the Defendant, including
statements, information, and materials provided pursuant to this Agreement, and statements made
during proceedings before the Court pursuant to Rule 11 of the Federal Rules of Criminal
Procedure. A determination that this Office is released from its obligations under this Agreement
will not permit the Defendant to withdraw the guilty plea. The Defendant acknowledges that the
Defendant may not withdraw the Defendant’s guilty plea—even if made pursuant to Rule
11{c)(1)(C)—if the Court finds that the Defendant breached the Agreement. In that event, neither
the Court nor the Government wil! be bound by the specific sentence or sentencing range agreed
and stipulated to herein pursuant to Rule 11(c)(1)(C).

Court Not a Party

12, The Court is not a party to this Agreement. The sentence to be imposed is within the sole
discretion of the Court. The Court is not bound by the Sentencing Guidelines stipulation in this
Agreement. The Court will determine the facts relevant to sentencing. The Court is not required
to accept any recommendation or stipulation of the parties. The Court has the power to impose a
sentence up to the maximum penalty allowed by law. If the Court makes sentencing findings
different from those stipulated in this Agreement, or if the Court imposes any sentence up to the

6
 

 

Case 1:18-cr-00593-RDB Document 26 Filed 04/16/19 Page 7 of 9

- Maximum allowed by statute, the Defendant will remain bound to fulfill all of the obligations under
this Agreement. Neither the prosecutor, defense counsel, nor the Court can make a binding
prediction, promise, or representation as to what guidelines range or sentence the Defendant will
receive. The Defendant agrees that no one has made such a binding prediction or promise.

Entire Agreement

13. This letter, together with the Sealed Supplement, constitutes the complete plea agreement
in this case. This letter, together with the Sealed Supplement, supersedes any prior understandings,
promises, or conditions between this Office and the Defendant. There are no other agreements,
promises, undertakings, or understandings between the Defendant and this Office other than those
set forth in this letter and the Sealed Supplement. No changes to this Agreement will be effective
unless in writing, signed by all parties and approved by the Court.

If the Defendant fully accepts each and every term and condition of this Agreement, please
sign and have the Defendant sign the original and return it to me promptly,

Very truly yours,

Robert K. Hur
United States Attorney

By: Is/
Burden H. Walker
Assistant United States Attorney

 

I have read this Agreement, including the Sealed Supplement, and carefully reviewed every
part of it with my attomey. I understand it and I voluntarily agree to it. Specifically, I have
reviewed the Factual and Advisory Guidelines Stipulation with my attorney and I do not wish to
change any part of it. I am completely satisfied with the representation of my attorney.

2 E/14 WK > Le ue
Date William McRae

I am the Defendant’s attorney. I have carefully reviewed every part of this Agreement,
including the Sealed Supplement with the Defendant. The Defendant advises me that the
Defendant understands and accepts its terms. To my knowledge, the Defendant's decision to enter
into this Agreement is an informed and voluntary one.

 

  

Date

 
 

Case 1:18-cr-00593-RDB Document 26 Filed 04/16/19 Page 8 of 9
ATTACHMENT A

STIPULATION OF FACTS

The undersigned parties stipulate and agree that if this case had proceeded to trial, this
Office would have proven the following facts beyond a reasonable doubt. The undersigned parties
also stipulate and agree that the following facts do not encompass all of the evidence that would
have been presented had this matter proceeded to trial.

At least between approximately November 2017 and November 2018, the
Defendant William McRae agreed with several other people to distribute and
possess with the intent to distribute mixtures or substances containing marijuana, a
Schedule I controlled substance, in the District of Maryland. It was reasonably
foreseeable to the Defendant that the equivalent of at least 100 kilograms of
marijuana were involved in the conspiracy.

Specifically, the Defendant was a mail carrier with the United States Postal Service
(“USPS”) and used his position to help divert packages containing large amounts
of marijuana to his co-defendant Michael Gray and another co-conspirator (“Co-
Conspirator 1”). In return, Gray and Co-Conspirator 1 gave the Defendant “‘care
packages” of marijuana and cash.

Over the course of the conspiracy, Gray and Co-Conspirator 1 would contact the
Defendant about two or three times per month to notify him that they had a set of
packages to import into Maryland. The packages routinely contained between 1
and 7 kilograms each and would often arrive in batches of up 6 or 7 packages at a
time. The Defendant would provide Gray and Co-Conspirator 1 with an address on
his route for the marijuana packages. Over the course of the conspiracy, the
Defendant provided numerous different Maryland addresses for Gray and Co-
Conspirator 1 to send the packages to, including the following Baltimore City
addresses: 1100 Hollins Street, 206 Calhoun Street, and 1433 W. Lombard Street.

For example, on or about in the middle of January, 2018, two Priority Mail of
marijuana, weighing approximately 20 pounds, were sent to 1100 Hollins Street
from Sebastopol, California. On January 22, 2018, the Defendant put the two
packages of marijuana into his USPS vehicle, and drove to the corner of West Pratt
and South Calhoun Streets in Baltimore. Co-Conspirator 1, driving a Nissan
Maxima, pulled directly behind the Defendant’s USPS vehicle. The Defendant
proceeded to transfer the two packages to Co-Conspirator ].

The final batch of marijuana-containing packages arrived on November 20, 2018.
All of the packages were addressed to a fictitious person at 1100 Hollins Street in
Baltimore from an address in California. The Defendant took possession of the
packages at the Franklin Post Office Station in Baltimore and delivered them to
Gray near the corner of West Lombard Street and South Carrollton Street. Gray
and the Defendant were then intercepted by law enforcement. The packages that
Case 1:18-cr-00593-RDB Document 26 Filed 04/16/19 Page 9 of 9

the Defendant distributed to Gray on November 20 contained roughly 10 kilograms

of marijuana.

SO STIPULATED:

Is/
Burden H. Walker
Assistant United States Attorney

LS Boe
William McRae
Defendant

    
 
   
 

Ryan
Counsel
